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 6
     Attorneys for Plaintiff Elizabeth Weiss
 7   *pro hac vice

 8
                                      UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN JOSE DIVISION
11

12    ELIZABETH WEISS,                               No. 5:22-cv-00641-BLF

13                         Plaintiff,                           PLAINTIFF’S
              v.                                          NOTICE OF WITHDRAWAL
14                                                             OF ATTORNEY
      STEPHEN PEREZ, in his official capacity               DANIEL M. ORTNER
15    as Interim President of San Jose State
      University; VINCENT J. DEL CASINO, in
16    his official capacity as Provost of San Jose
      State University; WALT JACOBS, in his
17    official capacity as Dean of the College of
      Social Sciences at San Jose State
18    University; ROBERTO GONZALES, in
      his official capacity as Chair of the
19    Department of Anthropology at San Jose
      State University, CHARLOTTE
20    SUNSERI, in her official capacity as
      NAGPRA Coordinator at San Jose State
21    University, and ALISHA MARIE
      RAGLAND, in her official capacity as
22    Tribal Liaison at San Jose State University,

23                         Defendants.

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     Notice of Withdrawal of Ortner                  1
     No. 5:22-cv-00641-BLF
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 1           Plaintiff’s attorneys hereby notify the Court of the withdrawal of Daniel M. Ortner as

 2   counsel for the Plaintiff in the above-entitled case.

 3           The Plaintiff will continue to be represented by Ethan W. Blevins as counsel of record.

 4           Plaintiff consents to this withdrawal.

 5           DATED: September 16, 2022.

 6                                                      Respectfully submitted,

 7                                                      DANIEL M. ORTNER
                                                        ETHAN W. BLEVINS
 8                                                      Pacific Legal Foundation
 9
                                                        By _______s/ Daniel M. Ortner_________
10                                                                 DANIEL M. ORTNER
11                                                      Attorneys for Plaintiff
                                                        Elizabeth Weiss
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     Notice of Withdrawal of Ortner                      1
     No. 5:22-cv-00641-BLF
        Case 5:22-cv-00641-BLF Document 92 Filed 09/16/22 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on September 16, 2022, Opposing Counsel received the foregoing

 3   PLAINTIFF’S NOTICE OF WITHDRAWAL OF ATTORNEY DANIEL M. ORTNER via

 4   CM/ECF service.

 5                                                 s/ Daniel M. Ortner
                                                   DANIEL M. ORTNER, No. 329866
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     Notice of Withdrawal of Ortner                2
     No. 5:22-cv-00641-BLF
